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                   Exhibit 9
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From:          Steven Popofsky
To:            Aaron Etra
Cc:            Joshua K. Bromberg; Pamela Frederick
Subject:       RE: Benthos
Date:          Monday, September 21, 2020 3:08:55 PM



Mr. Etra, what you have attached is a tiny, tiny fraction of what you were required to
supply pursuant to the subpoena duces tecum, and you have sent no responses
whatsoever to the information subpoena. Furthermore the two-page statement you
have sent was, by your own admission, prepared by you in May, four months ago. Last
week, I asked you whether you had “begun gathering responsive material,” and you
responded “yes.” That appears to have been untrue. The subpoenas were served on
August 27 and you appear to have done nothing at all to comply with either of them.

On September 3 and again on September 16, I wrote to you that “if you timely provide
substantial responsive documents and information [on the due date of September 21,]
and need a reasonable bit of additional time to complete your responses, we would
respond reasonably.” I further gave you examples last week of material that should be
“readily available to you and could easily be assembled and provided,” including “bank
and brokerage account statements, credit card statements, real estate ownership and
rent records, vehicle use and ownership, available cash and current living expenses, and
recent tax returns.” You have provided virtually none of that.

Even in the hopelessly sparse two-page document you just sent, more questions are
raised than answered, including (without limitation) to whom you pay your “housing and
rent” charges, your wholly unidentified “other income sources” (which you claim
constitute virtually the entirety of your monthly income), and what “checking account,”
“savings accounts,” “stocks” and “investment accounts” you admit to having. Your Social
Security number also was omitted.

This is not a game. The time when your gamesmanship might buy you time is long since
past. We told you on August 28, and again on September 3, that you did not appear to
be taking this seriously, and your virtually non-existent purported response today – after
telling us last week that you were gathering material and would provide it today –
confirms that beyond any doubt.

You have now failed to even try to comply with two subpoenas – whether you are in
compliance with the restraining order remains to be seen, although we have our doubts
– and we will give you one opportunity to remedy that before seeking to have you held
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in contempt of court. We expect – without prejudice to requiring complete responses
shortly thereafter – a substantial response this week, including at least the items
referred to in the second and third paragraphs above. Failing that, we will move to have
you held in contempt of court without any further warnings. We do not believe Judge
Nathan will look kindly upon your patent non-compliance, but the risk is yours if you
wish to test that.

With regard to your e-mail of September 17th, you do not necessarily need to “discuss”
with us “a plan . . . for generating funds”; you just need to go out and generate those
funds, whether from assets you have hidden away or otherwise. You should have been
doing that for a long time now, and there is certainly no reason to wait until the week of
October 12th. If you have something you wish to convey to us “to implement a
settlement,” as you wrote below, please put it in writing.

Since you are a lawyer, it is unnecessary for me to say this, but you remain under the
restraining order, and we reserve all of our client’s rights to seek to hold you in
contempt of court (independent of a contempt motion addressed to your defiance of
the subpoenas) should you be found to have violated it, in the past or in the future. To
“give to others in need” is normally admirable, but we trust you understand that your
ability to do such things is limited legally until you have satisfied your $5 million debt to
Benthos.

Finally, we have lost patience with your repeated nonsense about having acted
“honorably.” You were an integral part of a criminal conspiracy and you may be
disbarred, indicted and eventually jailed. You have been adjudicated – as confirmed by
the federal court – to have violated your fiduciary duties in having mishandled escrowed
funds entrusted to you, and you defied court orders, and you lied repeatedly to both a
federal judge and to Benthos, a business operated by young men whom you shamelessly
scammed. We will not respond to any further e-mails asserting that you have “no
responsibility” for the loss of Benthos’s funds. The sole subjects we will address with you
going forward are (i) how you are going to pay the judgment assessed against you, in full
or pursuant to an agreed-upon settlement; (ii) your compliance or non-compliance with
the judgment-enforcement subpoenas; and (iii) your compliance or non-compliance with
the restraining order. You were already threatened with imprisonment once by a federal
judge (“bring your toothbrush,” you were told, as you will vividly recall), and Benthos will
pursue contempt of court remedies vigorously if warranted in connection with judgment
enforcement.


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Benthos demands prompt and continuing compliance with all of your legal obligations.
You are aware of the consequences otherwise.



 STEVEN R. POpOFsKY
 D 212.880.9882     |   spopofsky@kkwc.com
 F 212.986.8866     |




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From: Aaron Etra [mailto:aaron@etra.com]
Sent: Monday, September 21, 2020 1:50 PM
To: Steven Popofsky
Cc: Joshua K. Bromberg
Subject: FW: Benthos

Dear Mr. Popofsky,

I have not seen a response to my letter of the 17th below.

Please find attached the material I had prepared for Scott Schirick to be sent to you.

As you will note, my resources are limited and I need you to release and leave unencumbered any
account on which you have put a hold and garnishment to enable me to pay my rent and purchase
basic food and supplies. I will need to function in order to implement a settlement which I want to
progress with you after the holidays as I wrote last week.

I look forward to hearing from you and thank you for your understanding.

Best,

Aaron Etra


From: Aaron Etra <aaron@etra.com>
Date: Thursday, September 17, 2020 at 4:35 PM
To: Steven Popofsky <SPopofsky@kkwc.com>
Cc: "Joshua K. Bromberg" <JBromberg@kkwc.com>
Subject: Re: Benthos

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Dear Mr. Popofsky,

Thank you for this message.

The answers to your two questions is for both, yes.

Furthermore, in addition to being compliant, I want to work with you to provide your clients with as
much funds as I can reasonably generate. I am starting from scratch and I need your cooperation to
be able to function and for you not to put holds on my accounts which do not let me even pay my
rent and eat or otherwise restrict what I need to do toward this objective.

I live alone, do not have staff or resources to add significantly to the basic effort of earning a living .
You will also appreciate the consequences what you have already added to my burden by the attacks
on my reputation, especially since you and your clients know full well by this time that, at all times, I
have acted honorably, without personal benefit and always trying to assist the parties, including
Benthos, to remedy the problem of their own creation and for which I had no responsibility.

So, yes, I am and will remain compliant. And, yes, I will provide material on the 21st. As well, I would
like to discuss with you during the week of October 12th a plan that I can achieve for generating
funds. Please tell me what day and time I can call you then.

Until, then, please do release any holds you have put on my accounts and do not take any other
such action, so I can pay my rent, purchase food and other necessities and function during this
period. It is particularly painful that it is the Jewish holidays and one wants to not only support
oneself but also give to others in need.

Thank you for your understanding and constructive action which is in the best interest of all
concerned, including your clients, the good people of Benthos.

Best,

Aaron Etra


From: Steven Popofsky <SPopofsky@kkwc.com>
Date: Wednesday, September 16, 2020 at 11:30 AM
To: Aaron Etra <aaron@etra.com>
Cc: "Joshua K. Bromberg" <JBromberg@kkwc.com>
Subject: RE: Benthos

Mr. Etra, as I wrote to you 13 days ago, “if you timely provide substantial responsive
documents and information [on the due date of September 21,] and need a reasonable
bit of additional time to complete your responses, we would respond reasonably.”


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Material such as – by way of example only – bank and brokerage account statements,
credit card statements, real estate ownership and rent records, vehicle use and
ownership, available cash and current living expenses, and recent tax returns are all
readily available to you and could easily be assembled and provided.

The subpoenas were served on August 27, and the Jewish holidays are no impediment at
all to your gathering and providing that sort of basic material in compliance with the
subpoenas. It is unseemly of you to use the holidays as an excuse. Furthermore the
arbitration award was rendered in April, and was confirmed by the Court on August 12
and the judgment was issued on August 13 – you are a lawyer and were at all times well
aware of what would be required of you. Have you begun gathering responsive material
at all? (Please be sure to respond to that inquiry in any return e-mail.)

In addition, are you in compliance with the restraining notice served upon you on August
27? (Please respond to that inquiry as well.) If you can (truthfully) confirm that you are,
and if you produce basic responsive material on the 21st, we can discuss the schedule
beyond that and ensure that you are not unduly burdened. Please understand that you
stalled my client for a long time – including refusing to return $400,000 of Benthos’s
money you were holding as an Escrow Agent, until threatened with imprisonment by the
late Judge Batts – and you lied to Benthos repeatedly and refused to provide simple
information as to the whereabouts of millions of dollars Benthos had entrusted to you.
We and our client are justly suspicious as to whether you truly intend to comply with
your legal obligations pursuant to the judgment-enforcement subpoenas.

If you do show good-faith compliance, we will work with you on scheduling. If you are
just intent on stalling until you are again forced to comply by a federal judge threatening
to hold you in contempt of court, we are not willing to be victimized by that
gamesmanship.

Please respond specifically to the two inquiries set forth above. Thank you.

 STEVEN R. POpOFsKY
 D 212.880.9882     |   spopofsky@kkwc.com
 F 212.986.8866     |




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From: Aaron Etra [mailto:aaron@etra.com]
Sent: Tuesday, September 15, 2020 4:33 PM
To: Steven Popofsky
Cc: Joshua K. Bromberg
Subject: Benthos

Mr. Popofsky,

I am in preparation for the Jewish holidays and have limited capacity during this period, especially
under my health circumstances.

I respectfully request rescheduling all required action on my part for dates as late as possible
beginning with the week of October 12th, which will be my first post-holidays.

Thank you,

Aaron Etra




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